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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

YVROSE JEAN BAPTISTE WW O07. 3535
iviPAction No.:

 

Plaintiff, 0 CK
COMPLAINT
-against-
NYC DEPARTMENT OF EDUCATION, JURY TRIAL DEMANDED
P.S, 26,
DINA KOSK], Officially and Individually,
DEBRA GERSHMAN, Officially and Individually
UNITED FEDERATION OF TEACHERS, Local 2 FILE
Defendants. ud INSERM SRT E &.3.4"
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BROOKLYN OFFICE

Plaintiff by her attorney, DAVID C. WIMS, complaining of Defendants, alleges:
JURISDICTION AND VENUE

(1) This action is brought to remedy discrimination on the basis of race, color and/or
national origin in the terms, conditions and privileges of employment and to remedy
retaliation against an employee for activity protected under Title VII and similar laws all
in violation of, inter alia, Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000¢ e¢ seq.("Title VII"), the Civil Rights Act of 1866, 42 U.S.C. § 1981
amended (“1981”); the New York State Human Rights Law (“NYSHRL”) and the NYC
Human Rights Law (““NYCHRL”).

(2) Injunctive and declaratory relief, damages and other appropriate legal and equitable
relief are sought pursuant to 42 U.S.C. § 2000e (f) and (g), 1981, the NYSHRL. and the
NYCHRL.

(3) Plaintiff Yvrose Jean-Baptiste ("Jean-Baptiste" or “Plaintiff’”’), a black female of
Haitian descent and a resident of the State of New York, dual filed a charge of
discrimination against Defendants with the New York State Division of Human Rights
(“DHR”) and the Equal Employment Opportunity Commission ("EEOC") on or about
June 2005, complaining of the acts of race, color and national origin discrimination
alleged herein.

(4) On June 7, 2007, more than 180 days having elapsed since the filing of her charge, the
EEOC issued plaintiff a notice informing her of her right to sue Defendants in federal
court. (Attached as Exhibit “A”)
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(5) Plaintiff has complied fully with all prerequisites to jurisdiction in this Court under
Title VII. Jurisdiction of the Court is proper under § 706(f)(3) of Title Vil, 42 U.S.C. §
2000e-5(f)(3) and 28 U.S.C. § 1331. Supplemental jurisdiction of the claims under
NYSHRL and NYCHRL is invoked pursuant to 28 U.S.C. § 1367.

(6) As the unlawful employment practices complained of herein occurred within the
Eastern District of New York, venue is proper in this District pursuant to § 706(f)(3) of
Title VII, 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391(a).

PARTIES

(7) Plaintiff has been and is employed by the New York City Department of Education
(“DOE”) for over seventeen (17) years as a schoo! teacher at various schools in varying
capacities and currently at P.S. 26 in Fresh Meadows, NY.

(8) Defendant DOE, upon information and belief, is a public entity duly organized and
existing under the laws of the State of New York. Defendant P.S. 26 is a public school of
DOE and Defendants Dina Koski and Debra Gershman, at all times herein relevant, are
and were the Principal and Assistant Principal, respectively, of P.S. 26. Defendants
Koski and Gershman are sued in both their official and individual capacities. Defendant
United Federation of Teachers (“UNION”) is the labor organization acting as exclusive
representative of Plaintiff and other similarly-situated employees of DOE, of which
Plaintiff was and is a member.

ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

 

(9) Plaintiff was hired by DOE as an Early Childhood Teacher in 1990. Pursuant to an
integration policy of DOE, and as a result of a racial imbalance in the staff of Defendant
P.S. 26, on or about May 2003, she was transferred to Defendant P.S. 26 in part to
provide racial balance to the school’s staff. Throughout her employment, Plaintiff
distinguished herself professionally.

(10) Just prior to Jean-Baptiste’s arrival, Defendant Koski called her to persuade her not
to accept the transfer. Shortly after Jean-Baptiste transferred to P.S. 26, Defendants
Koski and Gershman (collectively, “supervisors”) subjected her to race, color and/or
national origin disparate treatment and harassment, including refusing to assign her
appropriately, frequent unannounced observations, inspecting her students’ assignments
and character assassination, inter alia. Similarly situated comparators were not treated
this way by Defendants.

(11) Jean-Baptiste made numerous complaints about her supervisors’ harassment to
Defendants Koski and Gershman, to DOE’s Office of Equal Opportunity and to
Defendant UNION, to no avail. She also asked the UNION to file a ‘special complaint,’
which it refused to do.
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(12) Plaintiff, however, continued to suffer the effects of having complained about the
harassment. Despite the fact that she was highly qualified for the position, she was
subjected to intense scrutiny by her supervisors,

(13) Plaintiff also filed grievances about her supervisors’ conduct that were heard in the
first instance by Defendant Koski.

(14) On or about November 2005, Plaintiff took leave from work due to conditions
caused or exacerbated by the harassment. She was subsequently deemed unable to return
by her medical providers and took health sabbatical in January 2006.

(15) Because of the continuing, severe and pervasive pattern of discrimination and
retaliation, Jean-Baptiste continues to suffer adverse health effects, inter alia.

FIRST CAUSE OF ACTION

(16) Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 15 of this Complaint with the same force and effect as if set forth herein.

(17) Defendants DOE, Koski and Gershman have discriminated against plaintiff in the
terms and conditions of her employment on the basis of her race, color and/or national
origin in violation of Title VII, the NYSHRL and the NYCHRL.

(18) Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of defendant's discriminatory practices unless and until this Court
grants relief.

SECOND CAUSE OF ACTION

(19) Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 18 of this Complaint with the same force and effect as if set forth herein.

(20) Defendants DOE, Koski and Gershman have retaliated against Plaintiff on the basis
of her having complained of discrimination, in violation of Title VIL, 1981, the NYSHRL
and the NYCHRL.

(21) Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

damages as a result of defendant's retaliatory practices unless and until this Court grants
relief.

THIRD CAUSE OF ACTION

(22) Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 21 of this Complaint with the same force and effect as if set forth herein.
(23) The above acts and practices of Defendants DOE, Koski, Gershman and UNION
constitute unlawful discriminatory practices within the meaning of the Civil Rights Act of

1866, 42 U.S.C. § 1981, as amended.

(24) As a result of Defendant's discriminatory acts, plaintiff has suffered and will
continue to suffer monetary damages and damages for mental anguish and humiliation
unless and until this Court grants relief.

FOURTH CAUSE OF ACTION

(25) Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 24 of this Complaint with the same force and effect as if set forth herein.

(26) Defendants DOE, Koski and Gershman violated Plaintiffs due process rights as
embodied in the Constitution of the United States, Amendment XTV, as made applicable
to them by 42 U.S.C. § 1983; and in the Constitution of the State of New York.

(27) As a result of Defendant's discriminatory acts, Plaintiff has suffered and will
continue to suffer monetary damages and damages for mental anguish and humiliation
unless and until this Court grants relief.

FIFTH CAUSE OF ACTION

 

(28) Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 27 of this Complaint with the same force and effect as if set forth herein.

(29) Defendants DOE, Koski and Gershman violated Plaintiff's equal protection rights as
embodied in the Constitution of the United States, Amendment XIV, as made applicable
to them by 42 U.S.C. § 1983; and in the Constitution of the State of New York.

(30) As a result of Defendant's discriminatory acts, Plaintiff has suffered and will
continue to suffer monetary damages and damages for mental anguish and humiliation
unless and until this Court grants relief.

 
PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment:

(a) Declaring that the acts and practices complained of herein are in violation of Title VII,
1981, the NYSHRL and the NYCHRL;

(b) Enjoining and permanently restraining these violations;

(c) Directing defendant to take such affirmative action as is necessary to ensure that the
effects of these unlawful employment practices are eliminated and do not continue to
affect plaintiff's employment;

(d) Awarding plaintiff compensatory and punitive damages;

(e) Awarding plaintiff the costs of this action together with reasonable attorneys’ fees, as

provided by § 706(k) of Title VII, 42 U.S.C. § 2000e-6(k);

(f) Granting such other and further relief as this Court deems necessary and proper.

DEMAND FOR A TRIAL BY JURY

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, plaintiff demands a trial by jury
in this action.

 

Dated: Brooklyn, New York

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August 22,2007 ae iA
CAAT OR,

DAVID C. WIMS, ESQ. (DW-6964)
Attorney for Plaintiff
229 East 95" St., # 1R
Brooklyn, NY 11212
(917) 971-7339

 
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EXHIBIT A

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EEOC Form 161 (3/98) U

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EQUAL EMPLOYMENT OPPORTUNITY C” V~ISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

Te: Yvrose J. Baptiste From: New York District Office
198-20 Epsom Course 33 Whitehall Street
Hollis, NY 11423 Sth Floor

New York, NY 10004

 

[I On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEO Charge No. EEOC Representative Telephone No.
Holly M. Woodyard,
16G-2005-03585 Investigator (212) 336-3643

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged discrimination te file your
charge

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
interviews/conferences, or otherwise failed to cooperate to the extent that it was not possible to resolve your charge.

While reasonable efforts were made to locate you, we were not able to do so.
You were given 30 days to accept a reasonable settlernent offer that affords full relief for the harm you alleged.

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the information obtained
establishes violations of the statutes. This does not certify that the respondent is in compliance with the statutes. No finding is made as to
any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form. }

Title Vil, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a state claim may
be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that back @ for any violations that occurred more than 2 years (3 years}
before you file suit may not be collectible. :

  
 

 

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Enciosures(s} Spencer H. Lewis, Jr., (Date Mailed)
Director
ce: CITY OF NEW YORK, DEPT OF EDUCATION Valerie A. Hawkins, Esq.
52 Chambers Street, Room 308 175 Fulton Ave. Suite 306
New York, NY 10007 Hempstead, NY. 11550

Attn: Susan W. Holtzman, Esq.

 
